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 THOMAS R.
        R. ROGERS;
           ROGERS; and
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 ASSOCIATION
 ASSOCIATION OF   NEW JERSEY
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   PISTOL CLUBS,
          CLUBS, INC.,
                  INC.,                              )
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                         Plaintiffs,
                         Plaintiffs,                 )
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                                                       Civil Action No. 22-cv-4397
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         v.
         Vv.                                         )
 MATTHEW                                             )
 MATTHEW PLATKIN,
               PLATKIN, inin his
                             his official
                                 official
 capacity                                            )
 capacity as Acting Attorney General of
          as Acting Attorney  General      New
                                        of New
 Jersey,                                             )
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 PATRICK
 PATRICK J.  J. CALLAHAN,
                 CALLAHAN, in  in his
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          as Superintendent
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 capacity  as Chief of the Wall Township
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                         Defendants.
                         Defendants.

               COMPLAINT
               COMPLAINT FOR
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                                                                   L. Schmutter
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                                                           HARTMAN     & W   INNICKI, P.C.
                                                                          WINNICKI,    P.C.
                                                           74 Passaic  Street
                                                           74 Passaic Street
                                                           Ridgewood,
                                                           Ridgewood, NewNew Jersey
                                                                                Jersey 07450
                                                                                        07450
                                                           (201) 967-8040
                                                           (201) 967-8040
                                                           (201)
                                                           (201) 967-0590
                                                                 967-0590 (fax)
                                                                              (fax)
                                                           dschmutter@hartmanwinnicki.com
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                                                           Attorneys  for Plaintiffs
                                                           Attorneys for   Plaintiffs
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        Blake Ellman
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        #3
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        Chester,  New Jersey
        Chester, New   Jersey 07930
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        Thomas
        Thomas R.
                R. Rogers
                   Rogers
        3005
        3005 Clayton Dr.
             Clayton  Dr.
        Wall
        Wall Township,
             Township, NJ NJ 07719
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        Association
        Association of   New Jersey
                      of New Jersey Rifle
                                    Rifle &
                                          & Pistol
                                            Pistol Clubs,
                                                   Clubs, Inc.
                                                          Inc.
        55 Sicomac
           Sicomac Road
                     Road
        Suite
         Suite 292
               292
        North Haledon,
        North             New Jersey
                Haledon, New  Jersey 07508
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        Matthew
        Matthew Platkin
                  Platkin
        Office
        Office of the
               of the Attorney
                       Attorney General
                                  General
        RJ
        RJ Hughes
            Hughes Justice
                     Justice Complex
                              Complex
        25
        25 Market
           Market Street,
                    Street, Box
                             Box 080
                                  080
        Trenton,  New Jersey
        Trenton, New     Jersey 08625
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        Patrick
        Patrick J.
                 J. Callahan
                    Callahan
        Office
        Office of
                of the
                    the Superintendent
                         Superintendent
        New Jersey
        New   Jersey State
                       State Police
                             Police
        P.O.  Box   7068
        P.O. Box 7068
        West
        West Trenton,     New Jersey
               Trenton, New     Jersey 08628
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        Lt.
        Lt. Ryan
             Ryan McNamee
                   McNamee
        Chester
        Chester Police
                  Police Department
                         Department
        11 Parker  Road
           Parker Road
        Chester,   New Jersey
        Chester, New    Jersey 07930
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        Kenneth
        Kenneth Brown
                  Brown Jr. Jr.
        Chief
        Chief of
               of Police
                  Police
        Wall
        Wall Township
              Township Police
                           Police Department
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                                         INTRODUCTION

        Plaintiffs Blake Ellman, Thomas R. Rogers, and Association of New Jersey Rifle & Pistol

 Clubs, Inc., (collectively “Plaintiffs”), by and through the undersigned attorneys, file this

 Complaint against the above-captioned Defendants, in their official capacities as the state officials

 responsible under New Jersey law for administering and enforcing the State’s laws and regulations

 governing the possession of firearms. Plaintiffs seek declaratory and injunctive relief: a declaration

 that New Jersey’s ban on the possession of ordinary semi-automatic rifles and shotguns commonly

 possessed by millions of law abiding Americans for lawful purposes (“common semi-automatic

 firearms”) is facially unconstitutional under the Second and Fourteenth Amendments; and an

 injunction compelling Defendants to refrain from enforcing the invalid ban. In support of their

 Complaint against Defendants, Plaintiffs hereby allege as follows:

        1.      The State of New Jersey has criminalized one of the most common and important

 means by which its citizens exercise their fundamental right of self-defense. By banning common

 semi-automatic firearms, the State has reached into the homes—the most intimate of private

 spaces—of its law-abiding citizens, and invaded their constitutional right to keep and bear arms

 for the defense of themselves and their families.

        2.      Without relief from this Court, Defendants will continue to violate the

 constitutional rights of New Jersey’s law-abiding citizens and reinforce the erroneous notion that

 the right to keep and bear arms is nothing more than “a second-class right, subject to an entirely

 different body of rules than the other Bill of Rights guarantees.” McDonald v. City of Chicago,

 561 U.S. 742, 780 (2010); see also New York State Rifle & Pistol Association v. Bruen, 597 U. S.

 ____, slip op. at 62 (2022).




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        3.      There is no historical tradition of firearms regulation that supports the ban of

 common semi-automatic firearms. Bruen, 597 U.S. at ___, slip op. at 15.

        4.      Worse yet, Defendants will continue these constitutional violations without any

 realistic prospect of diminishing the misuse of firearms. All it does is leave law-abiding citizens

 more vulnerable to attack from better-armed and more ruthless assailants.

        5.      Plaintiffs, law-abiding residents of New Jersey and a state organization dedicated

 to defending the right to self-defense, bring this action to vindicate the constitutional rights being

 denied them by the State of New Jersey.

                                  JURISDICTION AND VENUE

        6.      This Court has subject-matter jurisdiction over Plaintiffs’ claim under 28 U.S.C.

 §§ 1331 and 1343.

        7.      Plaintiffs seek remedies under 28 U.S.C. §§ 1651, 2201, and 2202 and 42 U.S.C.

 §§ 1983 and 1988.

        8.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) & (b)(2).

                                              PARTIES

        9.      Plaintiff Blake Ellman is a law-abiding resident and citizen of the United States and

 the State of New Jersey. He resides at #3 Cristina Court Chester, New Jersey 07930. He is a

 member of Association of New Jersey Rifle & Pistol Clubs, Inc.

        10.     Plaintiff Thomas R. Rogers is a law-abiding resident and citizen of the United

 States and the State of New Jersey. He resides at 3005 Clayton Dr., Wall Township, NJ 07719. He

 is a member of Association of New Jersey Rifle & Pistol Clubs, Inc.

        11.     Plaintiff Association of New Jersey Rifle & Pistol Clubs, Inc. (“ANJRPC”) is a not-

 for-profit membership corporation, incorporated in the State of New Jersey in 1936, which




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 represents its members. Its address is 5 Sicomac Road, Suite 292, North Haledon, New Jersey

 07508. ANJRPC represents the interests of target shooters, hunters, competitors, outdoors people,

 and other law-abiding firearms owners. Among ANJRPC’s purposes is aiding such persons in

 every way within its power and supporting and defending the people’s right to keep and bear arms,

 including the right of its members and the public to purchase and possess firearms and magazines.

 The New Jersey ban on the common semi-automatic firearms at issue in this case are thus a direct

 affront to ANJRPC’s central mission. ANJRPC has tens of thousands of members who reside in

 New Jersey. ANJRPC brings the claim herein on behalf of its members.

         12.     Defendant Matthew Platkin is the Acting Attorney General of New Jersey. As

 Acting Attorney General, he exercises, delegates, or supervises all the powers and duties of the

 New Jersey Department of Law and Public Safety, including the Division of State Police within

 that Department, which is responsible for executing and enforcing New Jersey’s laws and

 regulations governing the possession of firearms and magazines. His official address is Office of

 the Attorney General, RJ Hughes Justice Complex, 25 Market Street, Box 080, Trenton, New

 Jersey 08625. He is being sued in his official capacity.

         13.     Defendant Patrick J. Callahan is the Superintendent of the New Jersey Division of

 State Police. As Superintendent, subject to the oversight and supervision of the Attorney General,

 he exercises, delegates, or supervises all the powers and duties of the New Jersey Division of State

 Police, including executing and enforcing New Jersey’s laws and regulations governing the

 possession of firearms and magazines. His official address is Office of the Superintendent, New

 Jersey State Police, P.O. Box 7068, West Trenton, New Jersey 08628. He is being sued in his

 official capacity.




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         14.     Defendant Lt. Ryan McNamee is the Officer In Charge for the Chester Police

 Department and is the chief law enforcement officer in the jurisdiction in which Plaintiff Ellman

 resides. His official address is Chester Police Department, 1 Parker Road, Chester, New Jersey

 07930. He is being sued in his official capacity.

         15.     Defendant Kenneth R. Brown, Jr. is the Chief of Police for the Wall Township

 Police Department and is the chief law enforcement officer in the jurisdiction in which Plaintiff

 Rogers resides. His official address is Wall Township Police Department, 2700 Allaire Rd., Wall

 Township, NJ 07719. He is being sued in his official capacity.

                                    FACTUAL ALLEGATIONS

                    New Jersey’s Ban on Common Semi-Automatic Firearms

         16.     Since 1990, New Jersey has criminalized the possession of certain common semi-

 automatic firearms, which it defines by reference to a list of enumerated banned firearms as well

 as a list of prohibited features (the “Act”).

         17.     The Act prohibits, effective May 1, 1990, a list of approximately 66 common semi-

 automatic rifles and shotguns. Semi-automatic firearms fire only a single round with one pull of

 the trigger. The Act further prohibits:

         “Any firearm manufactured under any designation which is substantially identical to any
         of the firearms listed above.”

         “A semi-automatic shotgun with either a magazine capacity exceeding six rounds, a pistol
         grip, or a folding stock.

 N.J.S. 2C:39-1(w). These firearms are not “machine guns,” which are fully automatic and continue

 to fire until the trigger is released or the firearm runs out of ammunition.




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        18.      A firearm is “substantially identical,” and therefore also banned, if it meets the

 following definition set forth in an August 19, 1996 Attorney General Guidelines1:

                A semi-automatic firearm should be considered to be "substantially
        identical," that is, identical in all material respects, to a named assault weapon if it
        meets the below listed criteria:

        A. semi-automatic rifle that has the ability to accept a detachable magazine and has
        at least 2 of the following:

            1. a folding or telescoping stock;
            2. a pistol grip that protrudes conspicuously beneath the action of the weapon;
            3. a bayonet mount;
            4. a flash suppressor or threaded barrel designed to accommodate a flash
               suppressor; and
            5. a grenade launcher;

        B. a semi-automatic pistol that has an ability to accept a detachable magazine and
        has at least 2 of the following:

            1. an ammunition magazine that attaches to the pistol outside of the pistol grip;
            2. a threaded barrel capable of accepting a barrel extender, flash suppressor,
               forward handgrip, or silencer;
            3. a shroud that is attached to, or partially or completely encircles, the barrel
               and that permits the shooter to hold the firearm with the nontrigger hand
               without being burned;
            4. manufactured weight of 50 ounces or more when the pistol is unloaded; and
            5. a semi-automatic version of an automatic firearm; and,

        C. a semi-automatic shotgun that has at least 2 of the following:

            1.   a folding or telescoping stock;
            2.   a pistol grip that protrudes conspicuously beneath the action of the weapon;
            3.   a fixed magazine capacity in excess of 5 rounds; and
            4.   an ability to accept a detachable magazine.

        19.      N.J.S. 2C:39-5(f) pejoratively and incorrectly labels these firearms as “assault

 firearms” and makes it unlawful for any person to “knowingly have in his possession an assault




        1
         Those guidelines are available at https://www.state.nj.us/lps/dcj/agguide/assltf.htm or in
 PDF at https://www.state.nj.us/lps/dcj/agguide/3assltf.pdf.



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 firearm . . . except if the assault firearm is licensed pursuant to N.J.S. 2C:58-5 . . . .2

         20.      The license to possess common semi-automatic firearms under N.J.S. 2C:58-5(b)

 requires that an applicant demonstrate that he qualifies for a permit to carry a handgun pursuant to

 N.J.S. 2C:58-4 and that a judge of the Superior Court of New Jersey “finds that the public safety

 and welfare so require.” Emphasis added.

         21.      Upon information and belief, either zero or close to zero such licenses have been

 issued by the Superior Court since 1990, and Plaintiffs are not aware of any such license ever

 having been issued.

         22.      The requirements for such a license “creates restrictions are so substantial that they

 create a de facto prohibition on the sale of [firearms] that may fall under New Jersey’s statutory

 definition of semi-automatic firearms. Any potential owner must qualify under two lengthy

 application procedures, and may be refused at any time the State determines such a license does

 not serve the public interest. This regulatory scheme vests unbridled discretion over the licensing

 process with the State.” Coalition of New Jersey Sportsmen v. Florio, 744 F. Supp. 602, 608

 (D.N.J. 1990).

         23.      Violating New Jersey’s ban on common semi-automatic firearms is a crime of the

 second degree, punishable by between five and ten years’ imprisonment and a fine of up to

 $150,000, with harsh minimum mandatory sentences with no judicial discretion. Id. §§ 2C:39-5(f),

 2C:43-3(a)(2), 2C:43-6.




         2
           The statute also provides two exceptions not applicable here. A person could have
 registered a banned firearm that was acquired prior to May 1, 1990. N.J.S. 2C:39-5(f). The window
 to register such firearm closed one year from the effective date of the 1990 ban, and such a
 registered firearm cannot be transferred or inherited. N.J.S. 2C:58-12. A person could also have
 rendered a banned firearm inoperative, N.J.S. 2C:39-5(f), which in light of the Second Amendment
 right to possess arms for self-defense makes this exception not relevant to this action.


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                          New Jersey Has Banned and Criminalized a
                         Common and Important Means of Self-Defense

           24.   The common semi-automatic firearms banned by the Act are, and have been,

  commonly used by law-abiding, responsible citizens in New Jersey and throughout the United

  States for lawful purposes, including defense of self and family in the home.

           25.   The United States Supreme Court stated, in Heller, that “the sort of weapons

  protected” by the Second Amendment are those “‘in common use at the time.’” Heller, 554 U.S.

  at 627, quoting United States v. Miller, 307 U.S. 174, 179 (1939); Bruen, 597 U.S. at ___, slip op.

  at 12.    The Court, in Heller, held that “a prohibition of an entire class of ‘arms’ that is

  overwhelmingly chosen by American society for that lawful purpose” was not constitutional,

  especially when that prohibition extends “to the home, where the need for defense of self, family,

  and property is most acute.” Heller, 554 U.S. at 628.

           26.   The banned semiautomatic long guns are in common use at the present time.

  Heller v. District of Columbia, 670 F.3d 1244, 1261 (D.C. Cir. 2011) (“Heller II”) (“We think it

  clear enough in the record that semi-automatic rifles and magazines holding more than ten rounds

  are indeed in ‘common use’ as the plaintiffs contend.”). See also Staples v. United States, 511

  U.S. 600, 612 (1994). They are therefore “arms,” as the people would have understood that term

  at the founding, and are protected under the Second Amendment. Bruen, 597 U.S. at ___, slip op.

  at 19.

           27.   The common uses of the banned firearms include defense of self in the home,

  hunting, and sport.

           28.   “In Heller, the Supreme Court held that handguns—the vast majority of which

  today are semi-automatic—are constitutionally protected because they have not traditionally been

  banned and are in common use by law-abiding citizens. There is no meaningful or persuasive



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  constitutional distinction between semi-automatic handguns and semi-automatic rifles. Semi-

  automatic rifles, like semi-automatic handguns, have not traditionally been banned and are in

  common use by law-abiding citizens for self-defense in the home, hunting, and other lawful uses.”

  Heller II, 670 F.3d at 1269 (Kavanaugh, J, dissenting).

         29.     Between the Act’s prohibition of the enumerated 66 long guns and “substantially

  identical” firearms, the Act effectively bans the acquisition of semiautomatic long guns that are

  commonly used for lawful purposes, including self-defense in the home. Although the Act

  describes common semi-automatic firearms as “assault firearms,” this is a gross and misleading

  misnomer. Stenberg v. Carhart, 530 U.S. 914, 1001 n.16 (2000) (Thomas, J., dissenting) (“‘Prior

  to 1989, the term “assault weapon” did not exist in the lexicon of firearms. It is a political term,

  developed by anti-gun publicists to expand the category of “assault rifles” so as to allow an attack

  on as many additional firearms as possible on the basis of undefined “evil” appearance.’”) (citation

  omitted). Common semi-automatic firearms are a normal feature of lawful firearms possession in

  the United States.

         30.     Firearms such as these are spread throughout the country. Common semi-automatic

  firearms are legal under both federal law and the laws of at least 41 states.

         31.     The ubiquity of common semi-automatic firearms among law-abiding Americans

  demonstrates that they are used for lawful purposes, such as self-defense, hunting, competition,

  and target shooting.

         32.     In line with the widespread possession and use of common semi-automatic

  firearms, there is no longstanding or historical tradition of prohibiting such firearms. Firearm bans

  like this one were unknown in the United States before the twentieth century. Bans like New




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  Jersey’s are a recent phenomenon in American history. New Jersey, for example, had never banned

  commonly possessed firearms before the enactment of the Act in 1990.

         33.     The rifles and shotguns banned by the Act have attributes that promote accuracy

  or otherwise promote their effective use. For example, under the Act, a semi-automatic, centerfire

  rifle that simply has an ability to accept a detachable magazine in not an “assault firearm.” Nor

  is such a rifle with either a folding stock or a flash suppressor. Under the Act’s “two feature”

  test, however, this ordinary rifle becomes an “assault firearm” of the “substantially identical”

  variety by reason of having both of these features—features that promote efficient and effective

  use and transport of the firearm.

         34.     A “flash suppressor” reduces the visible flash of light produced by firing the rifle.

  This reduces the likelihood of momentarily blindness after firing at an assailant, and it may

  reduce an assailant’s ability to pinpoint his potential victim’s position when the potential victim

  fires a shot in low-light conditions. David B. Kopel, Rational Basis Analysis of “Assault Weapon”

  Prohibition, 20 J. Contemp. L. 381, 397 (1994).

         35.     A “folding stock” allows a rifle to be stored and transported more compactly, while

  a “telescoping stock” merely allows the user to adjust the overall length of the firearm to better

  suit their body size, the reach of their arms, and the bulk of the clothes they are wearing. Either

  aids in maneuvering around tight spaces in a home aiding in self-defense. Id. at 398–99.

         36.     Detachable magazines assist a home defender in reloading and remedying firearm

  stoppages and malfunctions which can severely impair the ability of a homeowner to deploy his

  firearm for self-defense.

         37.     A protruding pistol grip better stabilizes a rifle or shotgun on the shoulder for

  improved accuracy and effectiveness in self-defense.




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         38.     These features combine to allow law-abiding, responsible citizens to easily store

  a rifle or shotgun in their homes and, if need be, use it effectively to defend themselves.

         39.     None of the above features makes a firearm more powerful or dangerous; rather,

  they allow citizens who are under the extreme stress of having to deal with an armed assailant to

  defend themselves more effectively. Prohibiting firearms with features that promote their efficient

  and effective use infringes on the core Second Amendment right because it meaningfully

  limits the ability of law-abiding, responsible citizens to defend themselves in their own homes.

         40.     These weapons are commonly used for defensive purposes and are highly useful

  for self-defense. For example, semi-automatic rifles that are banned by the Act allow individuals

  to accurately engage their assailants at distances further away than they would be able to with

  handguns, thus increasing the likelihood that the defender will survive an encounter.

         41.     The Act effectively bans the acquisition of common semi-automatic firearms by

  virtue of the enumerated list of 66 firearms and the expansive definition of “substantially identical”

  firearms. This is precisely the type of restriction found unconstitutional in Heller.

         42.     Unlike law-abiding citizens, violent criminals will not be meaningfully constrained

  by New Jersey’s ban. Given the tens of millions of common semi-automatic firearms in circulation

  in the country, it will not be difficult for violent criminals to acquire them despite New Jersey’s

  ban. And unlike law-abiding citizens, violent criminals will have no compunction about violating

  the ban.

         43.     While the Act’s prohibition of common semi-automatic firearms mischaracterized

  as “assault firearms” impermissibly restricts the core Second Amendment right of law-abiding,

  responsible citizens to acquire and possess these commonly used firearms in their homes for self-

  defense, the restrictions will not reduce homicides or other violent crime or improve public safety.




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          The Ban Prevents Plaintiffs from Acquiring Common Arms for Self-Defense

         44.     Plaintiff Ellman is an adult citizen and resident of New Jersey. He does not fall

  within any of the exceptions enumerated in New Jersey’s ban on common semi-automatic firearms.

  Plaintiff Ellman is a firearms instructor, range safety officer, armorer, and competitive shooter.

         45.     Plaintiff Ellman wishes to own common semi-automatic firearms for lawful

  purposes, including self-defense in the home. In particular, Plaintiff Ellman would choose a

  common semi-automatic rifle as an option for home defense because, as an experienced firearm

  owner and instructor, he believes that a common semi-automatic rifle is ideally suited to his home

  defense needs. But for the ban, Plaintiff Ellman would acquire and keep one or more common

  semi-automatic firearms in his New Jersey home. Because of New Jersey’s ban and the associated

  criminal penalties, he refrains from doing so.

         46.     Plaintiff Ellman would apply for a license to possess common semi-automatic

  firearms, but he knows that such an attempt would be futile and he would be denied.

         47.     Plaintiff Rogers is an adult citizen and resident of New Jersey. He does not fall

  within any of the exceptions enumerated in New Jersey’s ban on common semi-automatic firearms.

  Plaintiff Rogers is a long time, experienced firearms owner, having owned and responsibly used

  firearms for more than 40 years.

         48.     Plaintiff Rogers wishes to own common semi-automatic firearms for lawful

  purposes, including self-defense in the home. In particular, Plaintiff Rogers would choose a

  common semi-automatic shotgun as an option for home defense because, as an experienced

  firearm owner, he believes that a common semi-automatic shotgun is ideally suited to his home

  defense needs. But for the ban, Plaintiff Rogers would acquire and keep one or more common




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  semi-automatic firearms in his New Jersey home. Because of New Jersey’s ban and the associated

  criminal penalties, he refrains from doing so.

         49.      Plaintiff Rogers would apply for a license to possess common semi-automatic

  firearms, but he knows that such an attempt would be futile and he would be denied.

         50.      Plaintiff ANJRPC has members , including Plaintiffs Ellman and Rogers, who wish

  to acquire—and but for the ban would acquire— common semi-automatic firearms for purposes

  of self-defense in the home or other lawful purposes. Such members would apply for a license to

  possess common semi-automatic firearms, but they know that such an attempt would be futile and

  they would be denied.

                                          COUNT ONE
            Deprivation of Plaintiffs’ Rights Under U.S. CONST. amends. II and XIV

         51.      Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

         52.      The Second Amendment to the U.S. Constitution provides: “A well regulated

  Militia, being necessary to the security of a free State, the right of the people to keep and bear

  Arms, shall not be infringed.” The Second Amendment applies against the States via the

  Fourteenth Amendment. See McDonald v. City of Chicago, 561 U.S. 742, 791 (2010).

         53.      New Jersey’s definition of “assault firearm” includes many firearms that are

  typically possessed by law-abiding citizens for lawful purposes nationwide (and, before the ban,

  in New Jersey). New Jersey law therefore generally prohibits residents of New Jersey, including

  Plaintiff Ellman, Plaintiff Rogers, and other members of ANJRPC, from possessing firearms

  protected by the Second Amendment, subject to significant criminal penalties, including

  imprisonment.

         54.      New Jersey’s ban on common semi-automatic firearms extends its prohibition into

  the home. “[W]hatever else [the Second Amendment] leaves to future evaluation, it surely elevates



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  above
  above all
        all other
            other interests
                  interests the
                            the right
                                right of
                                      of law-abiding,
                                         law-abiding, responsible
                                                      responsible citizens
                                                                  citizens to
                                                                           to use
                                                                              use arms
                                                                                  arms in
                                                                                       in defense
                                                                                          defense of
                                                                                                  of

  hearth
  hearth and
         and home.”
             home.” District
                    District of
                             of Columbia
                                Columbia v. Heller, 554
                                         v. Heller,     U.S. 570,
                                                    554 U.S. 570, 635
                                                                  635 (2008).
                                                                      (2008).

         55.
         55.     Because
                 Because common
                         common semi-automatic
                                semi-automatic firearms
                                               firearms are
                                                        are in
                                                            in common
                                                               common use
                                                                      use and
                                                                          and “chosen by
                                                                              “chosen by

  Americans
  Americans for
            for self-defense
                self-defense in
                             in the
                                the home,
                                    home, .. .. .. aa complete
                                                      complete prohibition
                                                               prohibition of
                                                                           of their
                                                                              their use
                                                                                    use is
                                                                                        is invalid”
                                                                                           invalid” under
                                                                                                    under

  the
  the Second
      Second Amendment. Id. at
             Amendment. Id. at 629.
                               629.

                                       PRAYER
                                       PRAYER FOR
                                              FOR RELIEF
                                                  RELIEF

         56.
         56.    | WHEREFORE,
                  WHEREFORE, Plaintiffs
                             Plaintiffs pray
                                        pray for
                                             for an
                                                 an order
                                                    order and judgment:
                                                          and judgment:

                 a.
                 a.      Declaring
                         Declaring that New Jersey’s
                                   that New Jersey’s ban
                                                     ban on
                                                         on certain
                                                            certain semi-automatic
                                                                    semi-automatic firearms,
                                                                                   firearms, as
                                                                                             as set
                                                                                                set

         forth
         forth in N.J.S. 2C:39-5(f)
               in N.J.S. 2C:39-5(f) and
                                    and any
                                        any implementing
                                            implementing regulations,
                                                         regulations, violates
                                                                      violates the
                                                                               the Second
                                                                                   Second and
                                                                                          and

         Fourteenth
         Fourteenth Amendments
                    Amendments and
                               and is
                                   is thus
                                      thus devoid
                                           devoid of
                                                  of any
                                                     any legal
                                                         legal force
                                                               force or
                                                                     or effect;
                                                                        effect;

                 b.
                 b.      Permanently
                         Permanently enjoining
                                     enjoining Defendants
                                               Defendants Platkin,
                                                          Platkin, Callahan,
                                                                   Callahan, McNamee,
                                                                             McNamee, Brown,
                                                                                      Brown,

         and
         and their
             their employees
                   employees and
                             and agents
                                 agents from
                                        from enforcing N.J.S. 2C:
                                             enforcing N.J.S. 2C: 39-5(f)
                                                                  39-5(f) and
                                                                          and any
                                                                              any implementing
                                                                                  implementing

         regulations;
         regulations;

                 C.c.    Awarding
                         Awarding Plaintiffs
                                  Plaintiffs their
                                             their reasonable
                                                   reasonable costs,
                                                              costs, including
                                                                     including attorneys’
                                                                               attorneys” fees,
                                                                                          fees,

         incurred
         incurred in
                  in bringing
                     bringing this
                              this action,
                                   action, pursuant
                                           pursuant to
                                                    to 42
                                                       42 U.S.C.
                                                          U.S.C. §$ 1988;
                                                                    1988; and
                                                                          and

                 d.
                 d.      Granting
                         Granting such
                                  such other
                                       other and
                                             and further
                                                 further relief
                                                         relief as
                                                                as this
                                                                   this Court
                                                                        Court deems just and
                                                                              deems just and proper.
                                                                                             proper.



  Dated:
  Dated: July
         July 1,
              1, 2022
                 2022                                    Respectfully
                                                         Respectfully submitted,
                                                                      submitted,


                                                         s/
                                                         s/ Daniel
                                                            Daniel L.
                                                                    L. Schmutter
                                                                        Schmutter
                                                         Daniel  L.  Schmutter
                                                         Daniel L. Schmutter
                                                         H  ARTMAN &
                                                         HARTMAN      & W   INNICKI, P.C.
                                                                         WINNICKI,    P.C.
                                                         74  Passaic  Street
                                                         74 Passaic Street
                                                         Ridgewood,
                                                         Ridgewood, New New Jersey
                                                                               Jersey 07450
                                                                                       07450
                                                         (201)
                                                         (201) 967-8040
                                                                967-8040
                                                         (201)
                                                         (201) 967-0590
                                                                967-0590 (fax)
                                                                             (fax)
                                                         dschmutter@hartmanwinnicki.com
                                                         dschmutter@hartmanwinnicki.com
                                                         Attorneys for
                                                         Attorneys   for Plaintiffs
                                                                          Plaintiffs



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           DECLARATION
           DECLARATION OF
                       OF COUNSEL
                          COUNSEL PURSUANT
                                  PURSUANT TO
                                           TO LOCAL
                                              LOCAL CIV.
                                                    CIV. R.
                                                         R. 11.2
                                                            11.2

         The undersigned hereby
         The undersigned hereby states
                                states that
                                       that the
                                            the matter
                                                matter in
                                                       in controversy
                                                          controversy challenges
                                                                      challenges some
                                                                                 some of
                                                                                      of the
                                                                                         the same
                                                                                             same

  conduct
  conduct of
          of some
             some of
                  of the
                     the Defendants
                         Defendants as
                                    as the
                                       the following
                                           following action
                                                     action pending
                                                            pending in
                                                                    in the
                                                                       the District
                                                                           District of New Jersey:
                                                                                    of New Jersey:

  Cheeseman v.v. Platkin,
  Cheeseman               No. 1:22-cv-4360.
                 Platkin, No. 1:22-cv-4360.

         II declare under penalty
            declare under penalty of perjury that
                                  of perjury that the
                                                  the foregoing
                                                      foregoing is
                                                                is true
                                                                   true and
                                                                        and correct.
                                                                            correct.



                                                        s/
                                                        s/ Daniel
                                                           Daniel L.
                                                                   L. Schmutter
                                                                      Schmutter
                                                        Daniel
                                                        Daniel L.
                                                                L. Schmutter
                                                                    Schmutter
                                                        H  ARTMAN &
                                                        HARTMAN      & W  INNICKI, P.C.
                                                                       WINNICKI,    P.C.
                                                        74  Passaic  Street
                                                        74 Passaic Street
                                                        Ridgewood,
                                                        Ridgewood, New New Jersey
                                                                             Jersey 07450
                                                                                     07450
                                                        (201)  967-8040
                                                        (201) 967-8040
                                                        (201)
                                                        (201) 967-0590
                                                               967-0590 (fax)
                                                                           (fax)
                                                        dschmutter@hartmanwinnicki.com
                                                        dschmutter@hartmanwinnicki.com
                                                        Attorney for
                                                        Attorney  for Plaintiffs
                                                                       Plaintiffs

  Dated:
  Dated: July
         July 1,
              1, 2022
                 2022




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JS 44 (Rev. 06/17)                                                   CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                       DEFENDANTS
Ellman, Blake; Rogers, Thomas; Association of New Jersey Rifle & Pistol See Attachment 1
Clubs, Inc.;
  (b) County of Residence of First Listed Plaintiff Morris               County of Residence of First Listed Defendant
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

See Attachment 2


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government           u 3    Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                        (U.S. Government Not a Party)                        Citizen of This State         u 1       u 1       Incorporated or Principal Place       u 4     u 4
                                                                                                                                                   of Business In This State

u 2    U.S. Government           u 4    Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                        (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                               Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                       Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                        TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u 110 Insurance                    PERSONAL INJURY               PERSONAL INJURY               u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u 120 Marine                     u 310 Airplane               u 365 Personal Injury -                of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u 130 Miller Act                 u 315 Airplane Product             Product Liability          u 690 Other                               28 USC 157                       3729(a))
u 140 Negotiable Instrument             Liability             u 367 Health Care/                                                                                    u 400 State Reapportionment
u 150 Recovery of Overpayment u 320 Assault, Libel &                Pharmaceutical                                                   PROPERTY RIGHTS                u 410 Antitrust
      & Enforcement of Judgment         Slander                     Personal Injury                                                u 820 Copyrights                 u 430 Banks and Banking
u 151 Medicare Act               u 330 Federal Employers’           Product Liability                                              u 830 Patent                     u 450 Commerce
u 152 Recovery of Defaulted             Liability             u 368 Asbestos Personal                                              u 835 Patent - Abbreviated       u 460 Deportation
      Student Loans              u 340 Marine                       Injury Product                                                       New Drug Application       u 470 Racketeer Influenced and
      (Excludes Veterans)        u 345 Marine Product               Liability                                                      u 840 Trademark                        Corrupt Organizations
u 153 Recovery of Overpayment           Liability              PERSONAL PROPERTY                           LABOR                     SOCIAL SECURITY                u 480 Consumer Credit
      of Veteran’s Benefits      u 350 Motor Vehicle          u 370 Other Fraud                u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 490 Cable/Sat TV
u 160 Stockholders’ Suits        u 355 Motor Vehicle          u 371 Truth in Lending                  Act                          u 862 Black Lung (923)           u 850 Securities/Commodities/
u 190 Other Contract                   Product Liability      u 380 Other Personal             u 720 Labor/Management              u 863 DIWC/DIWW (405(g))               Exchange
u 195 Contract Product Liability u 360 Other Personal               Property Damage                   Relations                    u 864 SSID Title XVI             u 890 Other Statutory Actions
u 196 Franchise                        Injury                 u 385 Property Damage            u 740 Railway Labor Act             u 865 RSI (405(g))               u 891 Agricultural Acts
                                 u 362 Personal Injury -            Product Liability          u 751 Family and Medical                                             u 893 Environmental Matters
                                       Medical Malpractice                                            Leave Act                                                     u 895 Freedom of Information
      REAL PROPERTY                  CIVIL RIGHTS              PRISONER PETITIONS              u 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
u 210 Land Condemnation          u 440 Other Civil Rights       Habeas Corpus:                 u 791 Employee Retirement           u 870 Taxes (U.S. Plaintiff      u 896 Arbitration
u 220 Foreclosure                u 441 Voting                 u 463 Alien Detainee                   Income Security Act                  or Defendant)             u 899 Administrative Procedure
u 230 Rent Lease & Ejectment     u 442 Employment             u 510 Motions to Vacate                                              u 871 IRS—Third Party                  Act/Review or Appeal of
u 240 Torts to Land              u 443 Housing/                     Sentence                                                              26 USC 7609                     Agency Decision
u 245 Tort Product Liability           Accommodations         u 530 General                                                                                         u 950 Constitutionality of
u 290 All Other Real Property    u 445 Amer. w/Disabilities - u 535 Death Penalty                    IMMIGRATION                                                          State Statutes
                                       Employment               Other:                         u 462 Naturalization Application
                                 u 446 Amer. w/Disabilities - u 540 Mandamus & Other           u 465 Other Immigration
                                       Other                  u 550 Civil Rights                     Actions
                                 u 448 Education              u 555 Prison Condition
                                                              u 560 Civil Detainee -
                                                                    Conditions of
                                                                    Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from           u 3       Remanded from               u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                      Appellate Court                 Reopened                Another District             Litigation -                   Litigation -
                                                                                                                  (specify)                        Transfer                      Direct File
                                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                     42 U.S.C. 1983
VI. CAUSE OF ACTION Brief description of cause:
                                     Second Amendment challenge to New Jersey's restrictions on semi-automatic firearms
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                           DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                            JURY DEMAND:         u Yes      u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                       DOCKET NUMBER
DATE                                                               SIGNATURE OF ATTORNEY OF RECORD
07/01/2022                                                       s/ Daniel L. Schmutter
FOR OFFICE USE ONLY

  RECEIPT #                  AMOUNT                                    APPLYING IFP                                      JUDGE                          MAG. JUDGE
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             Case
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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Case
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                                                                               PagelD: 19223
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                              ATTACHMENT
                              ATTACHMENT 11 —-– DEFENDANTS
                                                DEFENDANTS

         Platkin,
         Platkin, Matthew,
                  Matthew, Acting
                           Acting Attorney
                                  Attorney General
                                           General of New Jersey
                                                   of New Jersey

         Callahan,
         Callahan, Patrick
                   Patrick J.,
                           J., Superintendent, New Jersey
                               Superintendent, New Jersey Division
                                                          Division of
                                                                   of State
                                                                      State Police
                                                                            Police

         McNamee,
         McNamee, Ryan,
                  Ryan, Officer
                        Officer in
                                in Charge,
                                   Charge, Chester
                                           Chester Police
                                                   Police Department
                                                          Department

         Brown
         Brown Jr.,
               Jr., Kenneth,
                    Kenneth, Chief,
                             Chief, Wall
                                    Wall Township
                                         Township Police
                                                  Police Department




                                                 1
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  Case   3:22-cv-04397-FLW-TJB Document
         3:22-cv-04397-FLW-TJB   Document50-3
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                                                                       4 of 4
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                                                                               PagelD: 20224
                                                                                PageID:20




                    ATTACHMENT
                    ATTACHMENT 2
                               2 —– ATTORNEYS
                                    ATTORNEYS FOR
                                              FOR PLAINTIFFS
                                                  PLAINTIFFS


  Daniel
  Daniel L.L. Schmutter
              Schmutter
  H ARTMAN &
  HARTMAN      & W  INNICKI, P.C.
                  WINNICKI,    P.C.
  74
  74 Passaic
      Passaic Street
               Street
  Ridgewood,
  Ridgewood, New New Jersey
                        Jersey 07450
                                07450
  (201)  967-8040
  (201) 967-8040
  (201)
  (201) 967-0590
         967-0590 (fax)
                      (fax)
  dschmutter@hartmanwinnicki.com




                                             1
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           EXHIBIT B
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Case 3:22-cv-04397-PGS-JBD Document 50-3 Filed 11/02/23 Page 24 of 30 PageID: 227




           EXHIBIT C
Case 3:22-cv-04397-PGS-JBD Document 50-3 Filed 11/02/23 Page 25 of 30 PageID: 228


   From:               Mitchell Jacobs
   To:                 Daniel L. Schmutter
   Subject:            Wall Township Chief of Police
   Date:               Friday, November 11, 2022 1:11:00 PM


   Hi Dan:

   The current Chief of Police at Wall Township is Sean O’Halloran

   Mitchell B. Jacobs, Managing Partner

   Cleary I Giacobbe I Alfieri I Jacobs, LLC
   www.cgajlaw.com I mjacobs@cgajlaw.com

   955 State Route 34
   Suite 200
   Matawan, NJ 07747
   Tel 732 583 7474
   Fax 732 290 0753
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           EXHIBIT D
Case 3:22-cv-04397-PGS-JBD Document 50-3 Filed 11/02/23 Page 27 of 30 PageID: 230


   From:               Daniel L. Schmutter
   To:                 Mitchell Jacobs
   Subject:            [EXTERNAL] Re: Ellman v. KENNETH BROWN
   Date:               Friday, March 24, 2023 9:04:08 AM


   We’re working on it. Sorry we couldn’t make it happen before initial disclosures.


   __________________________
   Daniel L. Schmutter, Esq.
   Hartman & Winnicki, P.C.
   74 Passaic Street
   Ridgewood, New Jersey 07450
   Tel.: (201) 967-8040
   Fax: (201) 967-0590
   www.hartmanwinnicki.com




   From: Mitchell Jacobs <mjacobs@cgajlaw.com>
   Sent: Thursday, March 23, 2023 5:52 PM
   To: Daniel L. Schmutter <DSchmutter@hartmanwinnicki.com>
   Subject: FW: Ellman v. KENNETH BROWN

   Hi Dan:

   Any response to the inquiry below?

   Mitchell B. Jacobs, Managing Partner

   Cleary I Giacobbe I Alfieri I Jacobs, LLC
   www.cgajlaw.com I mjacobs@cgajlaw.com

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   Matawan, NJ 07747
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Case 3:22-cv-04397-PGS-JBD Document 50-3 Filed 11/02/23 Page 28 of 30 PageID: 231




   From: Mitchell Jacobs
   Sent: Tuesday, March 07, 2023 8:57 AM
   To: 'Daniel L. Schmutter' <DSchmutter@hartmanwinnicki.com>
   Subject: RE: Ellman v. KENNETH BROWN

   Hi Dan:

   I was talking to Kathleen Fennelly about the claims against our respective clients and she
   conveyed to me that she had a conversation with you about potentially dismissing her client
   from the law suit. As the claims and prayer for relief against Chief Brown and Lt. McNamee
   (and the arguments for dismissal of those individuals as you discussed with Kathleen being
   substantially the same) I would also request that your client voluntarily dismiss Chief Brown
   from the instant action. Also, as we had discussed at the beginning of this case, Chief Brown is
   retired from the Wall Township Police Department.

   Please let me know your clients position.

   Thanks,

   MITCH

   Mitchell B. Jacobs, Managing Partner

   Cleary I Giacobbe I Alfieri I Jacobs, LLC
   www.cgajlaw.com I mjacobs@cgajlaw.com

   955 State Route 34
   Suite 200
   Matawan, NJ 07747
   Tel 732 583 7474
   Fax 732 290 0753
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Case 3:22-cv-04397-PGS-JBD Document 50-3 Filed 11/02/23 Page 29 of 30 PageID: 232




           EXHIBIT E
Case 3:22-cv-04397-PGS-JBD Document 50-3 Filed 11/02/23 Page 30 of 30 PageID: 233


   From:              Mitchell Jacobs
   To:                Daniel L. Schmutter
   Subject:           RE: [EXTERNAL] Cheeseman/ANJRPC/Ellman
   Date:              Thursday, May 18, 2023 12:38:20 PM


   Hi Dan:

   You previously advised that you were close to making a decision as to dismissal of former
   chief Ken Brown. Will ge be dismissed?



   Sent from my Verizon, Samsung Galaxy smartphone




   -------- Original message --------
   From: "Daniel L. Schmutter" <DSchmutter@hartmanwinnicki.com>
   Date: 5/18/23 12:34 PM (GMT-05:00)
   To: Daniel Vannella <Daniel.Vannella@law.njoag.gov>, "blehman@gsbblaw.com"
   <BLehman@gsbblaw.com>, Mitchell Jacobs <mjacobs@cgajlaw.com>, "Kathleen N.
   Fennelly" <KFennelly@mdmc-law.com>
   Cc: Nicholas Kant <Nicholas.Kant@law.njoag.gov>, Rachel Manning
   <Rachel.Manning@law.njoag.gov>
   Subject: [EXTERNAL] Cheeseman/ANJRPC/Ellman

   All -

   I think we have a joint status letter due today for Judge Day.

   Dan


   __________________________
   Daniel L. Schmutter, Esq.
   Hartman & Winnicki, P.C.
   74 Passaic Street
   Ridgewood, New Jersey 07450
   Tel.: (201) 967-8040
   Fax: (201) 967-0590
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